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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


  IN RE:

  ALL MATTERS RELATED TO NORTH                         Misc. Case No. 15-00204-TPA
  AMERICAN REFRACTORIES
  COMPANY, et al. in Case No. 02-20198, as             Chapter 11
  affected by the May 24, 2013 Order
  Entering Final Decree entered at Doc. No.
  7940
                        Debtors.


  HONEYWELL INTERNATIONAL INC.,                        Adv. No. 21-2097

                           Plaintiff,
           v.

  NORTH AMERICAN REFRACTORIES
  COMPANY ASBESTOS PERSONAL
  INJURY SETTLEMENT TRUST,

                           Defendant.



                THE FUTURE CLAIMANTS’ REPRESENTATIVE’S ADMITTED
                                 TRIAL EXHIBIT

         The Future Claimants’ Representative (“FCR”) hereby submits the following trial exhibit

 identified in Paragraph 5 the Court’s Order of June 8, 2022 (Dkt. No. 388) as being admitted at

 the request of the FCR:

         Exhibit 2: Trust-Trial-00133 – Trust-Trial-00177: First Amended North American

 Refractories Company Asbestos Personal Injury Settlement Trust Agreement, dated April 30,

 2013.




 DOC# 3786687
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 Dated: June 15, 2022                  YOUNG CONAWAY STARGATT & TAYLOR, LLP

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